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1    1074987   Cellino & Barnes, P.C.   Abdalle Lassan   Mohamoud                Mohamoud v. Merck &        2:06-cv-02202-EEF-DEK
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2    1075038   Cellino & Barnes, P.C.       Arndt          Alden        A                                   2:06-cv-02218-EEF-DEK
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3    1075070   Cellino & Barnes, P.C.      Barnes          Mary         G                                   2:06-cv-02199-EEF-DEK
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4    1075109   Cellino & Barnes, P.C.      Berger          Ailean                                           2:06-cv-02207-EEF-DEK
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5    1075154   Cellino & Barnes, P.C.       Bosco         Deborah                                           2:06-cv-02198-EEF-DEK
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6    1075177   Cellino & Barnes, P.C.      Brennen         Gerald                                           2:06-cv-02218-EEF-DEK
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7    1075210   Cellino & Barnes, P.C.     Bryant III        John        T                                   2:06-cv-02196-EEF-DEK
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8    1075221   Cellino & Barnes, P.C.      Bullock         Walter                                           2:06-cv-02203-EEF-DEK
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9    1075228   Cellino & Barnes, P.C.       Burns          Claire                                           2:06-cv-10622-EEF-DEK
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10   1075249   Cellino & Barnes, P.C.     Campbell        Norman        L                                   2:06-cv-02211-EEF-DEK
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11   1075248   Cellino & Barnes, P.C.     Campbell         Wanda                                            2:06-cv-02197-EEF-DEK
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12   1075340   Cellino & Barnes, P.C.      Colazzi          John                                            2:06-cv-02215-EEF-DEK
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13   1075343   Cellino & Barnes, P.C.     Coleman         Melvina                                           2:06-cv-02207-EEF-DEK
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14   1075361   Cellino & Barnes, P.C.    Conway       Gregory       V                                    2:06-cv-02196-EEF-DEK
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15   1075397   Cellino & Barnes, P.C.     Crites       Robert                                            2:06-cv-02211-EEF-DEK
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16   1075423   Cellino & Barnes, P.C.     Dalton      Charles                 Mohamoud v. Merck &        2:06-cv-02202-EEF-DEK
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17   1075460   Cellino & Barnes, P.C.    Deforest     Barbara                                            2:06-cv-02209-EEF-DEK
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18   1075581   Cellino & Barnes, P.C.   Farnsworth   Lawrence                                            2:06-cv-02196-EEF-DEK
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19   1075732   Cellino & Barnes, P.C.   Groseclose     Nancy                                             2:06-cv-02198-EEF-DEK
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20   1075873   Cellino & Barnes, P.C.    Howlett       Laura                                             2:06-cv-02216-EEF-DEK
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21   1075878   Cellino & Barnes, P.C.    Hughes        Joylsa                                            2:06-cv-02197-EEF-DEK
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22   1075920   Cellino & Barnes, P.C.    Jackson        Eula        M                                    2:06-cv-02199-EEF-DEK
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23   1075961   Cellino & Barnes, P.C.    Johnson     Josephine      L                                    2:06-cv-02216-EEF-DEK
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24   1076079   Cellino & Barnes, P.C.     Kunz        Marion                                             2:06-cv-02217-EEF-DEK
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25   1076085   Cellino & Barnes, P.C.    Lafleche      Daniel                                            2:06-cv-01166-EEF-DEK
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26   1076108   Cellino & Barnes, P.C.    Larson        Laurie                                            2:06-cv-02198-EEF-DEK
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27   1076209   Cellino & Barnes, P.C.     Macleod         Gilda                                              2:06-cv-01210-EEF-DEK
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28   1076250   Cellino & Barnes, P.C.      Massa          Anna                                               2:06-cv-02209-EEF-DEK
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29   1076294   Cellino & Barnes, P.C.      McKee           Karl        D                                     2:07-cv-00696-EEF-DEK
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30   1076296   Cellino & Barnes, P.C.    McKenzie        Carmen        L                                     2:06-cv-02199-EEF-DEK
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31   1076325   Cellino & Barnes, P.C.   Meyers Taylor      Jill                                              2:06-cv-02197-EEF-DEK
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32   1076329   Cellino & Barnes, P.C.    Middleton       Larraine                                            2:06-cv-02217-EEF-DEK
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33   1076344   Cellino & Barnes, P.C.      Miller          John        R                                     2:06-cv-02208-EEF-DEK
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34   1076372   Cellino & Barnes, P.C.       Mon           Norma                                              2:06-cv-02216-EEF-DEK
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35   1076403   Cellino & Barnes, P.C.      Morris         Elsie                                              2:06-cv-02198-EEF-DEK
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36   1076417   Cellino & Barnes, P.C.      Mowry          Rose                                               2:06-cv-02201-EEF-DEK
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37   1076450   Cellino & Barnes, P.C.     Newcomb         Gary                                               2:06-cv-02208-EEF-DEK
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38   1076494   Cellino & Barnes, P.C.       Oney          Donna        K                                     2:06-cv-02217-EEF-DEK
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39   1076534   Cellino & Barnes, P.C.      Patrick        Sylvia                                             2:06-cv-02201-EEF-DEK
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40   1076647   Cellino & Barnes, P.C.   Reddicks     Winnie                                            2:06-cv-01168-EEF-DEK
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41   1076652   Cellino & Barnes, P.C.     Reed        Gladys                                           2:06-cv-02216-EEF-DEK
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42   1076656   Cellino & Barnes, P.C.    Reeves      Belinda                                           2:06-cv-02197-EEF-DEK
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43   1076666   Cellino & Barnes, P.C.     Reniff      Mavis                                            2:06-cv-02216-EEF-DEK
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44   1076670   Cellino & Barnes, P.C.    Reuter       Harold                                           2:06-cv-02196-EEF-DEK
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45   1076672   Cellino & Barnes, P.C.     Reyes       Elvi E                                           2:06-cv-02217-EEF-DEK
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46   1076677   Cellino & Barnes, P.C.   Rheaume       Louis                                            2:06-cv-02218-EEF-DEK
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47   1076680   Cellino & Barnes, P.C.    Rhoades      Carol        A                                   2:06-cv-02217-EEF-DEK
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48   1076691   Cellino & Barnes, P.C.     Riley       Bessie                                           2:06-cv-01203-EEF-DEK
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49   1076713   Cellino & Barnes, P.C.    Robey        Robert        J                                  2:06-cv-02211-EEF-DEK
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50   1076733   Cellino & Barnes, P.C.   Rodriguez     Linda                                            2:06-cv-02217-EEF-DEK
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51   1076831   Cellino & Barnes, P.C.    Schulz       Joann                                            2:06-cv-01203-EEF-DEK
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52   1076924   Cellino & Barnes, P.C.     Smith       Alice                                            2:06-cv-02216-EEF-DEK
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53   1076914   Cellino & Barnes, P.C.     Smith       David                  Mohamoud v. Merck &        2:06-cv-02202-EEF-DEK
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54   1076913   Cellino & Barnes, P.C.     Smith     Jacqueline                                          2:06-cv-02201-EEF-DEK
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55   1076912   Cellino & Barnes, P.C.     Smith      Kathleen                                           2:06-cv-02200-EEF-DEK
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56   1076965   Cellino & Barnes, P.C.   St George     Minnie       L                                    2:06-cv-09752-EEF-DEK
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57   1077023   Cellino & Barnes, P.C.     Taft        Alice                                             2:06-cv-02201-EEF-DEK
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58   1077060   Cellino & Barnes, P.C.   Thompson      David      Arlen                                  2:06-cv-02215-EEF-DEK
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59   1077083   Cellino & Barnes, P.C.    Torres      Aurelia                                            2:06-cv-01213-EEF-DEK
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60   1077090   Cellino & Barnes, P.C.    Trimble      Anna                                              2:06-cv-01192-EEF-DEK
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61   1077092   Cellino & Barnes, P.C.     Troisi     Virginia      A                                    2:07-cv-09128-EEF-DEK
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62   1077143   Cellino & Barnes, P.C.     Vines       Diana        P                                    2:06-cv-02201-EEF-DEK
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63   1077218   Cellino & Barnes, P.C.    Wheeler       Geri                                             2:06-cv-02199-EEF-DEK
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64   1077229   Cellino & Barnes, P.C.     White      Elizabeth     A                                    2:06-cv-10629-EEF-DEK
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65   1077247   Cellino & Barnes, P.C.   Williams     Chester                                            2:06-cv-02208-EEF-DEK
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66   1077265   Cellino & Barnes, P.C.     Wilson        Betty                                            2:06-cv-02209-EEF-DEK
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67   1077262   Cellino & Barnes, P.C.     Wilson       Celeste                                           2:06-cv-02197-EEF-DEK
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68   1077273   Cellino & Barnes, P.C.   Witherspoon     Billy                                            2:06-cv-02196-EEF-DEK
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69   1077306   Cellino & Barnes, P.C.    Zambito        Mary         T                                   2:07-cv-03480-EEF-DEK
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